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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        )   1:11-cr-00354 LJO
11                                                    )
                            Plaintiff,                )   ORDER GRANTING GOVERNMENT’S
12                                                    )   MOTION TO DISMISS DEFENDANTS
                                                      )   RAFAEL JAQUEZ WITHOUT PREJUDICE
13                           v.                       )   (Fed. R. Crim. P. 48(a))
                                                      )
14   RAFAEL JAQUEZ,                                   )
                                                      )
15                          Defendants.               )
                                                      )
16                                                    )
                                                      )
17
18            IT IS HEREBY ORDERED that the charges as to RAFAEL JAQUEZ, only, in the above-
19   entitled case be dismissed without prejudice, in the interest of justice.
20
21   IT IS SO ORDERED.
22   Dated:     February 10, 2012                      /s/ Lawrence J. O'Neill
     b9ed48                                        UNITED STATES DISTRICT JUDGE
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